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3398           iMessage - Inbox                                                                               iMessage
  3

       Description: (No description)
       From:                  <+              >                                 Time stamp
                                                                                (Device time     6/18/2015 12:52:14 AM
                                                                                +00:00):
       To: Me <+18123058776>

       Remote party:                   <

       Direction: Incoming                 Read status: Read                       Deleted: No

       Oh baby. Your the man. Keep me posted. I will do what you tell me




                                                                                                                   10005
               Case 9:20-cr-00032-DWM
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3398                iMessage - Sent                                                                                      iMessage
  4

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time      6/18/2015 12:50:15 AM
                                                                                      +00:00):
        To:                        <                       >

        Remote party:                                 <+             >

        Direction: Outgoing                                Read status: Read             Deleted: No

        I'm trying to order some stuff but it's going to be a challenge.




                                                                                                                                  10006
            Case 9:20-cr-00032-DWM                   Document 188-23   Filed 02/25/22    Page 3 of 54




3419            iMessage - Inbox                                                                        iMessage
  3

       Description: (No description)
       From:                    <                                            Time stamp
                                                                             (Device time    6/10/2015 4:57:15 PM
                                                                             +00:00):
       To: Me <+18123058776>

       Remote party:                     <+

       Direction: Incoming                    Read status: Read                Deleted: No

       Oh man. Situation is critical. I'm all done



                                                                                                             10069
            Case 9:20-cr-00032-DWM             Document 188-23   Filed 02/25/22    Page 4 of 54




3444           iMessage - Inbox                                                                   iMessage
  9

       Description: (No description)
       From:                 <+                                         Time stamp
                                                                        (Device time   6/5/2015 2:01:01 AM
                                                                        +00:00):
       To: Me <+18123058776>

       Remote party:                   <+             >

       Direction: Incoming                  Read status: Read            Deleted: No

       Sweet




                                                                                                       10144
             Case 9:20-cr-00032-DWM              Document 188-23           Filed 02/25/22        Page 5 of 54




3445            iMessage - Sent                                                                                 iMessage
  9

       Description: (No description)
       From: Me <+18123058776>                                                         Time stamp
                                                                                       (Device time   6/5/2015 1:07:45 AM
                                                                                       +00:00):
       To:                   <+

       Remote party:                    <+               >

       Direction: Outgoing                   Read status: Read                         Deleted: No

       I do but I have to check with the guy and see where they're at with supplies.




                                                                                                                     10147
            Case 9:20-cr-00032-DWM               Document 188-23           Filed 02/25/22        Page 6 of 54




3446            iMessage - Inbox                                                                                 iMessage
  5

       Description: (No description)
       From:                   <+               >                                    Time stamp
                                                                                     (Device time      6/4/2015 9:42:45 PM
                                                                                     +00:00):
       To: Me <+18123058776>

       Remote party:                    <                >

       Direction: Incoming                   Read status: Read                       Deleted: No

       Seriously, the thing is, I have about 2 more days left of what I have and I don't want to have a big time lapse
       because then I would be starting from scratch again You know what I'm saying?




                                                                                                                         10149
             Case 9:20-cr-00032-DWM                  Document 188-23   Filed 02/25/22    Page 7 of 54




3450            iMessage - Sent                                                                         iMessage
  4

       Description: (No description)
       From: Me <+18123058776>                                               Time stamp
                                                                             (Device time    6/4/2015 12:43:21 AM
                                                                             +00:00):
       To:                   <+

       Remote party:                         <+

       Direction: Outgoing                        Read status: Read            Deleted: No

       No sir, just trying to make a plan.

3450            iMessage - Inbox                                                                        iMessage
  5

       Description: (No description)
       From:                      <+                                         Time stamp
                                                                             (Device time    6/3/2015 11:01:36 PM
                                                                             +00:00):
       To: Me <+18123058776>

       Remote party                          <+             >

       Direction: Incoming                        Read status: Read            Deleted: No

       Radio silence



                                                                                                             10161
             Case 9:20-cr-00032-DWM              Document 188-23           Filed 02/25/22       Page 8 of 54




3452            iMessage - Inbox                                                                                iMessage
  0

       Description: (No description)
       From:                      <+            >                                   Time stamp
                                                                                    (Device time       6/3/2015 1:15:10 AM
                                                                                    +00:00):
       To: Me <+18123058776>

       Remote party:                    <                >

       Direction: Incoming                   Read status: Read                       Deleted: No

       Fuck Anadrol. I don't wanna kill myself but I would like to add about 10-15lbs. But I will need a re-supply Sunshine

3452            iMessage - Sent                                                                                 iMessage
  1

       Description: (No description)
       From: Me <+18123058776>                                                      Time stamp
                                                                                    (Device time       6/3/2015 1:12:46 AM
                                                                                    +00:00):
       To:                   <+

       Remote party:                    <+

       Direction: Outgoing                   Read status: Read                       Deleted: No

       Nothing is going to pack mass on you without blowing you up. You could up your test level but I can't suggest
       Anadrol.




                                                                                                                        10166
               Case 9:20-cr-00032-DWM
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3452                iMessage - Inbox                                                                                    iMessage
  2

        Description: (No description)
        From:                           <+                   >                        Time stamp
                                                                                      (Device time       6/3/2015 12:23:09 AM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                  +

        Direction: Incoming                                Read status: Read            Deleted: No

        Jesus what the hell
        Anyhow back to me damn it

3452                iMessage - Sent                                                                                     iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time       6/3/2015 12:21:59 AM
                                                                                      +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read            Deleted: No

        I talked to him on Friday night. He's had a shoulder replacement and torn bicep just in the past month or so.

3452                iMessage - Inbox                                                                                    iMessage
  4

        Description: (No description)
        From:                           <+                   >                        Time stamp
                                                                                      (Device time       6/3/2015 12:17:27 AM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read            Deleted: No

        Hey don't disappear you have knowledge I need buddy. By the way you heard anything from                  ?




                                                                                                                                 10167
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3452                iMessage - Inbox                                                                                     iMessage
  5

        Description: (No description)
        From:                           <+                                              Time stamp
                                                                                        (Device time      6/3/2015 12:08:32 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read             Deleted: No

        Ok I understand. So what do YOU think I should do

3452                iMessage - Sent                                                                                      iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time      6/3/2015 12:07:49 AM
                                                                                        +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read             Deleted: No

        Anadrol is super strong and makes you blow up. Plus it's liver toxic. Not worth it.

3452                iMessage - Inbox                                                                                     iMessage
  7

        Description: (No description)
        From:                            +                     >                        Time stamp
                                                                                        (Device time      6/3/2015 12:07:10 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read             Deleted: No

        What Anadrol?? What do you think.

3452                iMessage - Sent                                                                                      iMessage
  8

        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time      6/3/2015 12:05:51 AM
                                                                                        +00:00):
        To:                        <+                      >

        Remote party:                                 <

        Direction: Outgoing                                Read status: Read             Deleted: No

        Man, I asked the meat heads and they said Deca or Anadrol but no way in hell are you taking that shit.



                                                                                                                                  10168
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3462              iMessage - Sent                                                                  iMessage
  5

       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time      5/29/2015 12:31:56 AM
                                                                       +00:00):
       To:                   <+

       Remote party:                   <+               >

       Direction: Outgoing                  Read status: Read            Deleted: No

       Yes sir!

3462              iMessage - Inbox                                                                 iMessage
  6

       Description: (No description)
       From:                      <+                                   Time stamp
                                                                       (Device time      5/29/2015 12:31:38 AM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:                   <

       Direction: Incoming                  Read status: Read            Deleted: No

       Great thanks my man. I really do appreciate your help.



                                                                                                          10196
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3462                iMessage - Sent                                                                                   iMessage
  7

        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time      5/29/2015 12:28:08 AM
                                                                                    +00:00):
        To:                        <+

        Remote party:                                 <

        Direction: Outgoing                               Read status: Read           Deleted: No

        Hmmm, Deca is a mild mass builder and I worry about you taking something stronger because of all the side
        effects. Let me put some thought into it and ask a few other dudes that a big into it and see what they think.




                                                                                                                               10197
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3463           iMessage - Inbox                                                                iMessage
  9

       Description: (No description)
       From:                 <+                                        Time stamp
                                                                       (Device time   5/28/2015 8:09:27 PM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:                   <+             >

       Direction: Incoming                  Read status: Read           Deleted: No

       Thoughts??




                                                                                                      10200
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3465            iMessage - Inbox                                                                                 iMessage
  5

       Description: (No description)
       From:                     +                                                Time stamp
                                                                                  (Device time      5/27/2015 11:14:54 PM
                                                                                  +00:00):
       To: Me <+18123058776>

       Remote party:                    <                >

       Direction: Incoming                   Read status: Read                       Deleted: No

       Just finishing up what you hooked me up with in Dec. but it really didn't put any size on me. Ripped but not size.
       Deca and Tess




                                                                                                                        10205
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3465                iMessage - Sent                                                                                    iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time      5/27/2015 11:09:02 PM
                                                                                     +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read           Deleted: No

        Are you on anything at all now?




3465                iMessage - Inbox                                                                                   iMessage
  8

        Description: (No description)
        From:                           <+                   >                        Time stamp
                                                                                      (Device time      5/27/2015 9:55:19 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read           Deleted: No

        Sorry. Now that I




                                                                                                                                10206
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3465                iMessage - Inbox                                                                                  iMessage
  9

        Description: (No description)
        From:                          <+                                            Time stamp
                                                                                     (Device time      5/27/2015 9:51:30 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                               Read status: Read           Deleted: No

        Now that u got my fat ass down to proper weight. What do I need for size




                                                                                                                               10207
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4206                iMessage - Sent                                                                                         iMessage
  0

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        10/31/2014 10:18:11 PM
                                                                                      +00:00):
        To:                        <+                      >

        Remote party:                                 <

        Direction: Outgoing                                Read status: Read              Deleted: No

        Me too!!!

4206                iMessage - Inbox                                                                                        iMessage
  1

        Description: (No description)
        From:                           <                      >                       Time stamp
                                                                                       (Device time        10/31/2014 9:40:27 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read              Deleted: No

        Great. Thanks again MM. Now go get some candy my fat ass sure the hell is

4206                iMessage - Sent                                                                                         iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time        10/31/2014 9:39:13 PM
                                                                                       +00:00):
        To:                        <+                      >

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read              Deleted: No

        Money arrived. Happy Halloween.




                                                                                                                                      12411
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4208             iMessage - Sent                                                                         iMessage
  5

       Description: (No description)
       From: Me <+18123058776>                                               Time stamp
                                                                             (Device time      10/30/2014 5:53:33 PM
                                                                             +00:00):
       To:                   <+

       Remote party:                      <+                >

       Direction: Outgoing                     Read status: Read               Deleted: No

       Yep.

4208             iMessage - Inbox                                                                        iMessage
  6

       Description: (No description)
       From:                      +                                          Time stamp
                                                                             (Device time      10/30/2014 5:50:31 PM
                                                                             +00:00):
       To: Me <+18123058776>

       Remote party:                      <+

       Direction: Incoming                     Read status: Read               Deleted: No

       Hell. I forgot they still deliver mail on horseback out there



                                                                                                                12417
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4208            iMessage - Sent                                                                               iMessage
  8

       Description: (No description)
       From: Me <+18123058776>                                                    Time stamp
                                                                                  (Device time      10/30/2014 5:43:02 PM
                                                                                  +00:00):
       To:                   <

       Remote party:                    <+

       Direction: Outgoing                    Read status: Read                       Deleted: No

       Haven't seen it today. Will let you know when it arrives. Mail is slow as fuck here in Montana.

4208            iMessage - Inbox                                                                              iMessage
  9

       Description: (No description)
       From:                     <+                                               Time stamp
                                                                                  (Device time      10/30/2014 4:41:40 PM
                                                                                  +00:00):
       To: Me <+18123058776>

       Remote party:                      +

       Direction: Incoming                    Read status: Read                       Deleted: No

       Did you receive the money




                                                                                                                     12418
           Case 9:20-cr-00032-DWM             Document 188-23   Filed 02/25/22       Page 20 of 54




4223           iMessage - Inbox                                                                   iMessage
  2

       Description: (No description)
       From:                 +                                        Time stamp
                                                                      (Device time      10/24/2014 7:18:11 PM
                                                                      +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read           Deleted: No

       Nice thanks



                                                                                                         12459
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4223                SMS - Sent                                                                                                   SMS
  3

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time      10/24/2014 7:04:45 PM
                                                                                       +00:00):
        To:                        <

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read             Deleted: No

        Start at 1ml/cc every 5-6 days of each compound. Pop on tablet per week to keep your estrogen level down.
        Should be all set.

4223                iMessage - Inbox                                                                                     iMessage
  4

        Description: (No description)
        From:                           <+                                             Time stamp
                                                                                       (Device time      10/24/2014 7:03:28 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read             Deleted: No

        Oh no thank you. How should Often and much should I do

4223                iMessage - Sent                                                                                      iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time      10/24/2014 7:02:53 PM
                                                                                       +00:00):
        To:                        <+                      >

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read             Deleted: No

        Will do thank you!




                                                                                                                                  12460
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4223                iMessage - Inbox                                                                                  iMessage
  6

        Description: (No description)
        From:                          <                                            Time stamp
                                                                                    (Device time      10/24/2014 5:59:16 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:                                 +             >

        Direction: Incoming                               Read status: Read           Deleted: No

        Just sent your cash. Let me know when you receive it




                                                                                                                               12461
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4225            iMessage - Sent                                                                    iMessage
  5

       Description: (No description)
       From: Me <+18123058776>                                        Time stamp
                                                                      (Device time      10/23/2014 10:52:30 PM
                                                                      +00:00):
       To:                   <+            >

       Remote party:                   +

       Direction: Outgoing                 Read status: Read              Deleted: No

       No worries!




                                                                                                          12466
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4225           iMessage - Inbox                                                                              iMessage
  8

       Description: (No description)
       From:                  <                                               Time stamp
                                                                              (Device time      10/23/2014 9:11:28 PM
                                                                              +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read                    Deleted: No

       Got the package. Thanks. I will send yours out tomorrow. Sorry buddy I have been running high speed




                                                                                                                  12467
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4226            iMessage - Sent                                                                  iMessage
  6

       Description: (No description)
       From: Me <+18123058776>                                      Time stamp
                                                                    (Device time      10/22/2014 11:50:37 PM
                                                                    +00:00):
       To:                   +

       Remote party:                   <

       Direction: Outgoing                 Read status: Read            Deleted: No

       No worries.




                                                                                                        12469
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4226            iMessage - Inbox                                                                        iMessage
  9

       Description: (No description)
       From:                     <+           >                            Time stamp
                                                                           (Device time      10/22/2014 11:18:04 PM
                                                                           +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read                  Deleted: No

       Heading to ny tonight will let you know tomorrow. Thanks man

4227            iMessage - Sent                                                                         iMessage
  0

       Description: (No description)
       From: Me <+18123058776>                                             Time stamp
                                                                           (Device time      10/22/2014 11:17:14 PM
                                                                           +00:00):
       To:                   <

       Remote party                    <+

       Direction: Outgoing                  Read status: Read                  Deleted: No

       Did you get your stuff?




                                                                                                               12470
             Case 9:20-cr-00032-DWM           Document 188-23   Filed 02/25/22       Page 27 of 54




4237            iMessage - Sent                                                                   iMessage
  3

       Description: (No description)
       From: Me <+18123058776>                                        Time stamp
                                                                      (Device time      10/14/2014 6:44:09 PM
                                                                      +00:00):
       To:                   +

       Remote party:                   <+

       Direction: Outgoing                  Read status: Read           Deleted: No

       No problem.




                                                                                                         12500
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4237                iMessage - Inbox                                                                                   iMessage
  4

        Description: (No description)
        From:                           <                                            Time stamp
                                                                                     (Device time      10/14/2014 6:25:04 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read           Deleted: No

        Nice. I owe you money. CNt send today getting on bird will send ASAP. Like a few days.

4237                iMessage - Sent                                                                                    iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time      10/14/2014 5:22:34 PM
                                                                                     +00:00):
        To:                        <+

        Remote party:                                  +

        Direction: Outgoing                                Read status: Read           Deleted: No

        Goodies will go out today.

4237                iMessage - Inbox                                                                                   iMessage
  6

        Description: (No description)
        From:                                                                        Time stamp
                                                                                     (Device time      10/14/2014 5:11:45 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read           Deleted: No



        Ny, Ny 10065




                                                                                                                                12501
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4237                iMessage - Inbox                                                                                        iMessage
  7

        Description: (No description)
        From:                           <+                                             Time stamp
                                                                                       (Device time        10/14/2014 5:10:24 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party                                  <+             >

        Direction: Incoming                                Read status: Read              Deleted: No

        Two fucking nut jobs we are.

4237                iMessage - Sent                                                                                         iMessage
  8

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time        10/14/2014 5:08:35 PM
                                                                                       +00:00):
        To:                        <+                      >

        Remote party:                                 <+             >

        Direction: Outgoing                                Read status: Read              Deleted: No

        I need your address again too.
        Mine is:

        Whitefish, MT 59937


4237                iMessage - Inbox                                                                                        iMessage
  9

        Description: (No description)
        From:                           <+                                            Time stamp
                                                                                      (Device time        10/14/2014 12:19:05 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party                                  <

        Direction: Incoming                                Read status: Read              Deleted: No

        Sorry dude. Need your address again




                                                                                                                                     12502
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4256                iMessage - Sent                                                                                      iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time       9/30/2014 8:00:34 PM
                                                                                       +00:00):
        To:                        <                      >

        Remote party:                                 <             >

        Direction: Outgoing                               Read status: Read             Deleted: No

        My guy sent the stuff out yesterday to me. I will get it, check it, and send on to you. My address is:

        Whitefish, MT 59937

4256                iMessage - Inbox                                                                                     iMessage
  6

        Description: (No description)
        From:                          <+                                              Time stamp
                                                                                       (Device time       9/30/2014 7:35:28 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party                                  <

        Direction: Incoming                               Read status: Read             Deleted: No

        Let me know when you are ready to send so I can be on the look out. Also address because I have to send the
        400




                                                                                                                                  12557
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4264                iMessage - Sent                                                                                    iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time      9/14/2014 6:14:43 PM
                                                                                      +00:00):
        To:                          +

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read           Deleted: No

        Yes

4264                iMessage - Inbox                                                                                   iMessage
  4

        Description: (No description)
        From:                            <+                                           Time stamp
                                                                                      (Device time      9/14/2014 6:14:24 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read           Deleted: No

        Very good

4264                iMessage - Inbox                                                                                   iMessage
  5

        Description: (No description)
        From:                            <+                                           Time stamp
                                                                                      (Device time      9/14/2014 5:04:00 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                                Read status: Read           Deleted: No

        Would you like me to bring money to the DC event?




                                                                                                                                12581
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4269                iMessage - Inbox                                                                                     iMessage
  6

        Description: (No description)
        From:                          <+                                                Time stamp
                                                                                         (Device time       9/5/2014 6:10:08 PM
                                                                                         +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read             Deleted: No

        Of course

4269                iMessage - Inbox                                                                                     iMessage
  7

        Description: (No description)
        From:                          <                                                 Time stamp
                                                                                         (Device time       9/5/2014 6:09:46 PM
                                                                                         +00:00):
        To: Me <+18123058776>

        Remote party:                                  +

        Direction: Incoming                                Read status: Read             Deleted: No

        Ok 6 btls each please and the anti titty pills. ASAP please buddy. I got big plans in the near future. I'm going to try
        and go do bad shit to bad people overseas.

4269                iMessage - Sent                                                                                      iMessage
  8

        Description: (No description)
        From: Me <+18123058776>                                                          Time stamp
                                                                                         (Device time       9/5/2014 6:06:42 PM
                                                                                         +00:00):
        To:                        <                       >

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read             Deleted: No

        Sus is test. I'd stick with test Cyp and deca




                                                                                                                                  12596
               Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4269                iMessage - Inbox                                                                                   iMessage
  9

        Description: (No description)
        From:                           <+                                            Time stamp
                                                                                      (Device time      9/5/2014 11:50:18 AM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read           Deleted: No

        Or should I get sus instead of deca or all three.

4270                iMessage - Sent                                                                                    iMessage
  0

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time       9/4/2014 7:09:06 PM
                                                                                       +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read           Deleted: No

        Gotcha!! Looking forward to seeing you brother.

4270                iMessage - Inbox                                                                                   iMessage
  1

        Description: (No description)
        From                            <                                              Time stamp
                                                                                       (Device time       9/4/2014 7:07:44 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read           Deleted: No

        Nice



        Ny, ny 10065

        I moved, same building new apartment




                                                                                                                                12597
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4270                iMessage - Inbox                                                                                    iMessage
  2

        Description: (No description)
        From:                            +                  >                         Time stamp
                                                                                      (Device time         9/4/2014 7:07:44 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 +

        Direction: Incoming                               Read status: Read            Deleted: No

        Likewise see you soon

4270                iMessage - Sent                                                                                     iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time         9/4/2014 7:06:59 PM
                                                                                      +00:00):
        To:                        <+

        Remote party:                                 +

        Direction: Outgoing                               Read status: Read            Deleted: No

        I will get it to you Ricky ticky.

4270                iMessage - Inbox                                                                                    iMessage
  4

        Description: (No description)
        From:                           <+                                            Time stamp
                                                                                      (Device time         9/4/2014 7:05:36 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 +

        Direction: Incoming                               Read status: Read            Deleted: No

        Of course either way I will pay you in DC. I'm excited about DC. Not to be a fucker but the sooner the better. I just
        started hitting the gym hard a couple days ago.




                                                                                                                                 12598
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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4270                iMessage - Sent                                                                                      iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        9/4/2014 7:03:54 PM
                                                                                        +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read            Deleted: No

        I have to order it from the guy and then he has to ship it to me. Then I gotta turn around and ship it to you. If I have
        it I will ship it out before the party.

4270                iMessage - Inbox                                                                                     iMessage
  6

        Description: (No description)
        From:                           <+                                              Time stamp
                                                                                        (Device time        9/4/2014 7:01:20 PM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read            Deleted: No

        Ok. 6 of each please plus some of those little pills you told me to take so I don't grow chick Tits. Can you send and
        I will give you the money in DC? If that's cool with you.

4270                iMessage - Sent                                                                                      iMessage
  7

        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        9/4/2014 5:56:35 PM
                                                                                        +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read            Deleted: No

        Maybe a low dose just for a little size and for your joints.




                                                                                                                                  12599
              Case 9:20-cr-00032-DWM
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4270                iMessage - Inbox                                                                                           iMessage
  8

        Description: (No description)
        From:                           <+                                                    Time stamp
                                                                                              (Device time        9/4/2014 5:55:12 PM
                                                                                              +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read                  Deleted: No

        Great and what else do you recommend?? Deca?

4270                iMessage - Sent                                                                                            iMessage
  9

        Description: (No description)
        From: Me <+18123058776>                                                               Time stamp
                                                                                              (Device time        9/4/2014 5:21:02 PM
                                                                                              +00:00):
        To:                        <+

        Remote party:                                 <

        Direction: Outgoing                                Read status: Read                  Deleted: No

        Yes sir. Looking forward to it!! Also have some word on the goodies. 100 bucks a bottle for test

4271                iMessage - Inbox                                                                                           iMessage
  0

        Description: (No description)
        From:                            +                                                    Time stamp
                                                                                              (Device time        9/4/2014 4:57:14 PM
                                                                                              +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                                Read status: Read                  Deleted: No

        You crazy fucker.                    tells me that you will be in attendance for the book signing!!!! Outstanding




                                                                                                                                        12600
             Case 9:20-cr-00032-DWM               Document 188-23       Filed 02/25/22       Page 37 of 54




4277            iMessage - Inbox                                                                          iMessage
  9

       Description: (No description)
       From:                      <                                           Time stamp
                                                                              (Device time      8/19/2014 10:09:54 PM
                                                                              +00:00):
       To: Me <+18123058776>

       Remote party:                     <+

       Direction: Incoming                    Read status: Read                 Deleted: No

       Hawaii. Well god damn good for you. Ok I will wait to hear from you

4278            SMS - Sent                                                                                      SMS
  0

       Description: (No description)
       From: Me <+18123058776>                                                Time stamp
                                                                              (Device time      8/19/2014 10:04:49 PM
                                                                              +00:00):
       To:                   <+               >

       Remote party:                     <                >

       Direction: Outgoing                    Read status: Read                 Deleted: No

       I will have all the info when I get back from Hawaii.




                                                                                                                 12623
              Case 9:20-cr-00032-DWM
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4278                iMessage - Inbox                                                                                   iMessage
  1

        Description: (No description)
        From:                           <+                                            Time stamp
                                                                                      (Device time      8/19/2014 9:52:00 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read           Deleted: No

        Buddy I'm looking like a Ethiopian

4278                iMessage - Sent                                                                                    iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time      8/19/2014 9:41:57 PM
                                                                                      +00:00):
        To:                        <+

        Remote party:                                 <

        Direction: Outgoing                                Read status: Read           Deleted: No

        What's up?

4278                iMessage - Inbox                                                                                   iMessage
  3

        Description: (No description)
        From:                           <                                             Time stamp
                                                                                      (Device time      8/19/2014 9:23:27 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party                                  <+

        Direction: Incoming                                Read status: Read           Deleted: No

        Oh god




                                                                                                                                12624
             Case 9:20-cr-00032-DWM            Document 188-23           Filed 02/25/22       Page 39 of 54




4280            iMessage - Sent                                                                            iMessage
  1

       Description: (No description)
       From: Me <+18123058776>                                                 Time stamp
                                                                               (Device time      8/12/2014 11:18:13 PM
                                                                               +00:00):
       To:                   <+

       Remote party:                    <

       Direction: Outgoing                  Read status: Read                    Deleted: No

       Still waiting on the supply guy. Fuckers are slow moving these days.



                                                                                                                  12629
              Case 9:20-cr-00032-DWM
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4280                iMessage - Inbox                                                                                  iMessage
  2

        Description: (No description)
        From:                          <                                            Time stamp
                                                                                    (Device time      8/12/2014 11:17:20 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                               Read status: Read           Deleted: No

        Rgr

4280                iMessage - Inbox                                                                                  iMessage
  3

        Description: (No description)
        From:                          <                                            Time stamp
                                                                                    (Device time      8/12/2014 11:15:12 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:                                 <             >

        Direction: Incoming                               Read status: Read           Deleted: No

        Any word buddy




                                                                                                                               12630
           Case 9:20-cr-00032-DWM             Document 188-23   Filed 02/25/22   Page 41 of 54




4287           iMessage - Inbox                                                                iMessage
  5

       Description: (No description)
       From:                                                           Time stamp
                                                                       (Device time   7/30/2014 3:54:12 AM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read           Deleted: No

       Thanks man




                                                                                                      12652
             Case 9:20-cr-00032-DWM             Document 188-23   Filed 02/25/22       Page 42 of 54




4287            iMessage - Sent                                                                     iMessage
  7

       Description: (No description)
       From: Me <+18123058776>                                          Time stamp
                                                                        (Device time      7/29/2014 11:38:32 PM
                                                                        +00:00):
       To:                    +

       Remote party:                     <+

       Direction: Outgoing                    Read status: Read           Deleted: No

       I will check supplies tomorrow.




                                                                                                           12653
           Case 9:20-cr-00032-DWM             Document 188-23   Filed 02/25/22   Page 43 of 54




4288           iMessage - Inbox                                                                iMessage
  7

       Description: (No description)
       From:                     <+                                    Time stamp
                                                                       (Device time   7/28/2014 7:11:02 PM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read           Deleted: No

       Ok tell me my next step




                                                                                                      12656
             Case 9:20-cr-00032-DWM           Document 188-23   Filed 02/25/22   Page 44 of 54




4289            iMessage - Sent                                                                iMessage
  3

       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time   7/25/2014 5:56:25 PM
                                                                       +00:00):
       To:                   <+

       Remote party:                   <+             >

       Direction: Outgoing                  Read status: Read           Deleted: No

       Let me see what I can do




                                                                                                      12658
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4289                iMessage - Inbox                                                                                   iMessage
  4

        Description: (No description)
        From:                          <                     >                        Time stamp
                                                                                      (Device time      7/25/2014 5:55:12 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+

        Direction: Incoming                                Read status: Read           Deleted: No

        Rgr. Good copy thanks

4289                iMessage - Inbox                                                                                   iMessage
  5

        Description: (No description)
        From                           <                                              Time stamp
                                                                                      (Device time      7/25/2014 5:53:04 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <              >

        Direction: Incoming                                Read status: Read           Deleted: No

        Indeed. Absolutely. Goodies that's funny

4289                iMessage - Sent                                                                                    iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time      7/25/2014 5:49:57 PM
                                                                                      +00:00):
        To                         <

        Remote party:                                 <+

        Direction: Outgoing                                Read status: Read           Deleted: No

        I can still get some stuff if you want some goodies.

4289                iMessage - Inbox                                                                                   iMessage
  7

        Description: (No description)
        From:                          <+                    >                        Time stamp
                                                                                      (Device time      7/25/2014 5:48:48 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+             >

        Direction: Incoming                                Read status: Read           Deleted: No

        Yes but. You know science always helps



                                                                                                                                12659
              Case 9:20-cr-00032-DWM
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4289                iMessage - Sent                                                                                       iMessage
  8

        Description: (No description)
        From: Me <+18123058776>                                                          Time stamp
                                                                                         (Device time      7/25/2014 5:48:41 PM
                                                                                         +00:00):
        To:                        <+

        Remote party:                                 <+

        Direction: Outgoing                                   Read status: Read           Deleted: No

        You hitting the gym?

4289                iMessage - Inbox                                                                                      iMessage
  9

        Description: (No description)
        From:                           <+                      >                        Time stamp
                                                                                         (Device time      7/25/2014 5:44:32 PM
                                                                                         +00:00):
        To: Me <+18123058776>

        Remote party:                                 <+                >

        Direction: Incoming                                   Read status: Read           Deleted: No

        Great. I'll tell you what isn't awesome is the fact that I'm shrinking

4290                iMessage - Sent                                                                                       iMessage
  0

        Description: (No description)
        From: Me <+18123058776>                                                          Time stamp
                                                                                         (Device time      7/25/2014 5:42:02 PM
                                                                                         +00:00):
        To:                        <+

        Remote party:                                     +

        Direction: Outgoing                                   Read status: Read           Deleted: No

        Going awesome.

4290                iMessage - Inbox                                                                                      iMessage
  1

        Description: (No description)
        From:                                                                            Time stamp
                                                                                         (Device time      7/25/2014 5:40:16 PM
                                                                                         +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                                   Read status: Read           Deleted: No

        Great great. And you



                                                                                                                                   12660
             Case 9:20-cr-00032-DWM               Document 188-23   Filed 02/25/22       Page 47 of 54




4468            SMS - Inbox                                                                                 SMS
  0

       Description: (No description)
       From:                     +                                        Time stamp
                                                                          (Device time      8/21/2013 10:15:15 PM
                                                                          +00:00):
       To: Me <+18123058776>

       Remote party:                     <

       Direction: Incoming                      Read status: Read           Deleted: No

       OK buddy thanks

4468            SMS - Sent                                                                                  SMS
  1

       Description: (No description)
       From: Me <+18123058776>                                             Time stamp
                                                                           (Device time      8/21/2013 9:57:12 PM
                                                                           +00:00):
       To:                   <

       Remote party:                     <+               >

       Direction: Outgoing                      Read status: Read           Deleted: No

       Pretty hard now, will have to inquire.




                                                                                                             13217
              Case 9:20-cr-00032-DWM
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4468                SMS - Inbox                                                                                           SMS
  2

        Description: (No description)
        From:                          <                                         Time stamp
                                                                                 (Device time      8/21/2013 8:15:29 PM
                                                                                 +00:00):
        To: Me <+18123058776>

        Remote party:

        Direction: Incoming                           Read status: Read           Deleted: No

        So can you still get those little bottles?




                                                                                                                           13218
            Case 9:20-cr-00032-DWM               Document 188-23           Filed 02/25/22         Page 49 of 54




4646            SMS - Inbox                                                                                              SMS
  8

       Description: (No description)
       From:                    <+                                                 Time stamp
                                                                                   (Device time       8/21/2012 12:11:22 PM
                                                                                   +00:00):
       To: Me <+18123058776>

       Remote party:                     <+

       Direction: Incoming                    Read status: Read                        Deleted: No

       Sorry dude..i thought i was going to be able to get into the city and see what the hell i have, but i havee not. I hope
       to get in next weekend. Stay safe down there




                                                                                                                          13738
             Case 9:20-cr-00032-DWM           Document 188-23   Filed 02/25/22   Page 50 of 54




4670             SMS - Sent                                                                          SMS
  7

       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time   8/13/2012 5:17:33 PM
                                                                       +00:00):
       To:                   <+

       Remote party:                   <+

       Direction: Outgoing                  Read status: Read           Deleted: No

       Anytime

4670             SMS - Inbox                                                                         SMS
  8

       Description: (No description)
       From:                                                           Time stamp
                                                                       (Device time   8/13/2012 4:28:50 PM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:                   <+

       Direction: Incoming                  Read status: Read           Deleted: No

       Thanks man




                                                                                                      13803
             Case 9:20-cr-00032-DWM             Document 188-23           Filed 02/25/22   Page 51 of 54




4671            SMS - Sent                                                                                     SMS
  1

       Description: (No description)
       From: Me <+18123058776>                                                   Time stamp
                                                                                 (Device time   8/13/2012 4:26:54 PM
                                                                                 +00:00):
       To:                   <+

       Remote party:                    <+

       Direction: Outgoing                   Read status: Read                    Deleted: No

       Oh yeah bro, just next couple of days is cool. You're my boy and wanna make sure you are hooked up.

4671            SMS - Inbox                                                                                    SMS
  2

       Description: (No description)
       From:                      <+            >                                Time stamp
                                                                                 (Device time   8/13/2012 4:24:24 PM
                                                                                 +00:00):
       To: Me <+18123058776>

       Remote party:                    <                >

       Direction: Incoming                   Read status: Read                    Deleted: No

       Can i give you an answer thur morning? i will be back in the city then.



                                                                                                                13804
             Case 9:20-cr-00032-DWM           Document 188-23   Filed 02/25/22   Page 52 of 54




4671            SMS - Sent                                                                           SMS
  4

       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time   8/13/2012 4:22:34 PM
                                                                       +00:00):
       To:                   <

       Remote party:                   <+

       Direction: Outgoing                  Read status: Read           Deleted: No

       Need any shit ordered?




                                                                                                      13805
             Case 9:20-cr-00032-DWM             Document 188-23        Filed 02/25/22   Page 53 of 54




4673            SMS - Sent                                                                                  SMS
  2

       Description: (No description)
       From: Me <+18123058776>                                                Time stamp
                                                                              (Device time   8/13/2012 3:11:09 AM
                                                                              +00:00):
       To:                   <+

       Remote party                     <+

       Direction: Outgoing                   Read status: Read                 Deleted: No

       I'm still around 213. Just getting an order placed for me and       this week.



                                                                                                             13809
              Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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                                                                                                 Oxygen Forensic® Detective - 11.6.2.100

4673                SMS - Inbox                                                                                                 SMS
  3

        Description: (No description)
        From:                           <                                              Time stamp
                                                                                       (Device time      8/13/2012 3:07:28 AM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:                                 <

        Direction: Incoming                               Read status: Read             Deleted: No

        Of course. Im weighing in at a cool 205




4673                SMS - Sent                                                                                                  SMS
  5

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time      8/13/2012 2:59:42 AM
                                                                                       +00:00):
        To:                        <+                     >

        Remote party:                                 <

        Direction: Outgoing                               Read status: Read             Deleted: No

        Hit me up if you need anything.




                                                                                                                                 13810
